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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,        )
                                    )
     Plaintiff,                     )
                                    )
     v.                             )                                    No. 1:20-cv-00037-HAB-SLC
                                    )
BAICELLS TECHNOLOGIES INC., et al., )
                                    )
     Defendants.                    )

                                                      ORDER

         The Joint Motion for Entry of Stipulated Protective Order (ECF 30), seeking approval of

a proposed stipulated protective order submitted by the parties (ECF 30-1), is GRANTED to the

extent set forth in this Order.1 The stipulated protective order submitted by the parties on March

17, 2020 (ECF 30-1), is APPROVED and ADOPTED as an Order of this Court, provided,

however, that:

         (1)      as set forth in paragraph VIII, the Order does not authorize either party to file or

                  maintain any document under seal. That is, NO DOCUMENT OR PORTION OF

                  A DOCUMENT WILL BE MAINTAINED UNDER SEAL IN THE ABSENCE

                  OF AN AUTHORIZING STATUTE, COURT RULE, OR FURTHER LEAVE

                  OF COURT. See N.D. Ind. L.R. 5-3; and

         (2)      while the Order will remain in force after the conclusion of the suit as set forth in

                  paragraph VII.B, the Court will not retain jurisdiction over the Order, as the Court


         1
            “[T]he same scrutiny is not required for protective orders made only for discovery as for those that permit
sealed filings.” Containment Techs. Grp., Inc. v. Am. Soc’y of Health Sys. Pharmacists, No. 1:07-cv-997, 2008 WL
4545310, at *3 (S.D. Ind. Oct. 10, 2008). Here, the Order does not permit sealed filings (ECF 30-1 ¶ VIII), and as
such, enjoys lesser scrutiny. The Court observes that the definition of “Designated Information” in the Order would
be overly broad if the proposed order permitted sealed filings—a point that the parties should bear in mind in the
event they seek leave of Court to file any documents under seal.
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            is unwilling to enter a protective order that suggests it retains jurisdiction of any

            kind after resolution of the case. See EEOC v. Clarice’s Home Care Serv., Inc.,

            No. 3:07-cv-601 GPM, 2008 WL 345588, at *2 (S.D. Ill. Feb. 7, 2008)

            (encouraging the parties to make a contractual agreement among themselves for

            the return of sensitive documents without court oversight); see also Large v.

            Mobile Tool Int’l, Inc., No. 1:02-CV-177, 2010 WL 3120254, at *1 (N.D. Ind.

            Aug. 6, 2010).

     SO ORDERED.

     Entered this 25th day of March 2020.
                                                   /s/ Susan Collins
                                                   Susan Collins
                                                   United States Magistrate Judge




                                               2
